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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Richmond Division

 LULA WILLIAMS, et al.                            :
                                                  :
                Plaintiffs,                       :
                                                  :
 v.                                               :      Civil Action No. 3:17-cv-00461 (REP)
                                                  :
                                                  :
 BIG PICTURE LOANS, LLC, et al.,                  :
                                                  :
                Defendants.                       :

                                   NOTICE OF APPEARANCE
        Elizabeth W. Hanes of Consumer Litigation Associates, P.C., 763 J. Clyde Morris Blvd.,

 Suite 1-A, Newport News, Virginia, 23601, hereby notes her appearance as counsel in this case

 on behalf of Plaintiffs, Lula Williams, et al.

        Please copy her with all matters in this case.



                                                         By:    /s/ Elizabeth W. Hanes

                                                         Elizabeth W. Hanes, VSB #75574
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                                  CERTIFICATE OF SERVICE


        I hereby certify that on this 12th day of September, 2018, I will electronically file the

 foregoing with the Clerk of the Court using the CM/ECF system, which will then send a

 notification of such filing (NEF) to all counsel of record.



                                                       By:     /s/ Elizabeth W. Hanes

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